                    THE THIRTEENTH COURT OF APPEALS

                                    13-23-00116-CR


                          JOZANNAH LORRAINE GONZALEZ
                                      v.
                              THE STATE OF TEXAS


                                   On Appeal from the
                     156th District Court of Live Oak County, Texas
                           Trial Court Cause No. LCR220056


                                      JUDGMENT

       THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be reversed and rendered. The

Court orders the judgment of the trial court REVERSED and RENDERED in accordance

with its opinion.

       We further order this decision certified below for observance.

August 22, 2024
